                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                            Inmate: 673642 - DREILING, ASHTON K.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     02/13/2023          DCI-2023-2170           24 - Staff            PIOC complains Ofc Gilmore showed deliberate
                                                 Misconduct            indifference after PIOC informed him of self harm
     02/13/2023          DCI-2023-2171           24 - Staff            PIOC Dreiling complains Ofc Gilmore showed deliberate
                                                 Misconduct            indifference regarding Dreiling cutting himself.
     03/14/2023          DCI-2023-3676           4 - Medical           PIOC alleges medical deliberate indifference.
     04/14/2023          WRC-2023-5360           2 - Correspondence Challenges denial of pictures.
                                                 & Publications
     05/30/2023          WRC-2023-7863           12 - Other         Complaints regarding canteen.
     06/19/2023          WRC-2023-8999           3 - Discipline        Complaints regarding his placement in high
                                                                       management.
     07/05/2023          WCI-2023-10120          1 - Staff             claims staff ignored self harm claim

                                                      *** End of Report ***




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                                                      ** ICRS CONFIDENTIAL **


                                                                         EXHIBIT
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